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annual payments to the New Jersey Lawyers’ Fund for Client Protection as provided by New

Jersey Court Rule 1:28-2(a) and shall each pay the sum of $250.00 to the Clerk of the United

States District Court in accordance with Local Civil Rule 101.1(c)(3); and it is further

        ORDERED that Matthew J. Reilly, Mary Elizabeth Miller, and Luke P. McGuire shall

notify the Court immediately of any disciplinary matter affecting their standing at the bar of any

jurisdiction; and it is further

        ORDERED that Matthew J. Reilly, Mary Elizabeth Miller, and Luke P. McGuire shall

have all pleadings, briefs and other papers filed with the Court in this matter signed by Liza M.

Walsh or her partners or associates as the attorneys of record in this matter pursuant to Local Civil

Rule 101.1(c)(3).




                                                HON. LEDA DUNN WETTRE, U.S.M.J.




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